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Kevin C Forrest
112 Turkey Hill Ct
Stroudsburg, Pa 18360
570/982-9609

February 21, 2022

To Whom It May Concern:

Ross Roggio has been a neighbor and friend of mine for over 26 years. He has been helpful and
generous from the day we moved in. He has always been available when we’ve needed help.
He is a caring and selfless individual that will always put your needs ahead of his.

| respect his integrity and acts of kindness when it comes to caring for his parents. His father is
96 years old and his mother is 81. He is their fulltime caretaker and never waivers in his desire
to keep them safe.

Sincerely,

Vw CORD
Kevin C Forrest
Capt — United Airlines, Ret.

g DEFENDANT’S
8 EXHIBIT

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